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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY . . Nc0!'! of
                              LEXINGTON DIVISION          ktmllti't(f,
AXIS INSURANCE COMP ANY,                                 )
                                                         )                               MAY 28
                               Plaintiff,                )                                 Ai U:XINGTON
                                                                                         ROBERT R. CARR
                                                         )                          CLER!< U.S. DISTRICT COU!lT
                                                         )
        vs.
                                                         ) CASENO.:         6: ()..i)-   CV -       &&".:5- DCQ_,
TEMPUR SEALY INTERNATIONAL, INC.,                        )
                                                         )
          Defendant. )
~---------------~)

                      MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 5.6, Axis

Insurance Company moves this Honorable Court to file its Complaint for Declaratory Judgment

against Tempur Sealy International, Inc. ("TSI") under seal and in support of that motion, states

as follows:

        1.     TSI submitted a claim under a Crime Insurance Policy (identified as Policy

Number MCN 798665/01/2016 and referred to as "2016-2017 Policy") issued by Axis.

       2.      During the course of Axis' investigation, TSI and Axis executed a confidentiality

agreement.    While that agreement authorizes Axis to use information uncovered during its

investigation in the event of litigation, the agreement states that "Axis will take all reasonable

measures to prese1ve the confidential nature of the Confidential Information from other persons

and entities not involved in the resolution of such dispute."           Pursuant to the parties' non-

disclosure agreement, TSI provided Axis infonnation about the claim and identified that

infonnation as "confidential" pursuant to the parties' confidentiality agreement.

       3.      Axis now seeks to file a declaratory judgment action to resolve the parties

disagreement about the applicability of the 2016-2017 Policy and the scope of coverage afforded



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by thereunder. A trne and cmTect copy of Axis' Complaint for Declaratmy Judgment is attached

as Exhibit I .

        4.       Axis requests leave to file its Complaint for Declaratory Judgment under seal

because that complaint references documents and information TSI previously marked as

"confidential," including information about TSI's employment and termination of personnel and

its investigation of alleged fraud. Pursuant to the parties' Confidentiality Agreement, Axis files

this motion to preserve TSI's claim of confidentiality, until the parties can negotiate and agree

upon a protective order and if appropriate, file a redacted complaint.

        5.       While the Sixth Circuit favors openness of court records (Deere Consir. &

Forestry Co., 834 F. 3d 589, 593 (6th Cir. 2016)), the Sixth Circuit recognizes exceptions to this

practice. Id.. One exception centers "on the content of the infmmation to be disclosed to the

public." Id. To that end, this Court has the power to seal records when the interests of privacy

outweigh the public's right to access. In re Knoxville News-Sentinel Co., Inc., 723 F.2d 470, 474

(6th Cir. 1983).

        6.       Rule 5.2 of the Federal Rules of Civil Procedure provides that a filer should not

include sensitive infmmation in any document filed with the Coutt unless such inclusion is

necessary and relevant to the case. To that end, Rule 5.2(d) of the Federal Rules of Civil

Procedure allows the Court to order that a "filing be made under seal without redaction. The

court may later unseal the filing or order the person who made the filing to file a redacted version

for the public record."

        7.       In this case, Axis seeks to file its Complaint under seal, to provide TSI time to

review the complaint and determine whether it believes that any information should be redacted.

Once complete, the parties can promptly unseal the complaint or file a redacted version. In the




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interim, granting leave to file under seal pending service of the Complaint and review by TSI

does not unduly prejudice the public or otherwise withhold information of immediate public

interest. Drake v. Family Health Ctr., No. 3: l 7-cv-670, 2017 U.S. Dist. LEXIS 217951, at *4-5

(W.D. Ky., Nov. 22, 2017) (granting leave to file complaint under seal because it referenced

financial records).

       WHEREFORE, Axis respectfully requests that this Honorable Court grant it leave to file

the attached Complaint for Declarat01y Judgment under seal and for such other relief as the

Court deems equitable and just.

Dated: May 28, 2020

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                                             CERTIFICATE OF SERVICE

                    The undersigned hereby certifies that a true and con-ect copy of the foregoing motion for

             leave to file its Complaint For Declaratory Judgment with filed with the Clerk of Court and that

             it will serve a copy of this motion on counsel for Tempur Sealy International via email.




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